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                                  UNITED STATES DISTRICT COURT

                               NORTHERN DISTRICT OF CALIFORNIA

                                           CRIMINAL MINUTES

Date: July 21, 2015                   Time in Court: 2 Minutes                Judge: BETH LABSON FREEMAN
Case No.: 15-cr-00226-BLF-1 Case Name: UNITED STATES v. Douglas York

Attorney for Plaintiff: Brianna Penna, Jeff Schenk
Attorney for Defendant: Varell Fuller

 Deputy Clerk: Tiffany Salinas-Harwell                            Court Reporter: Irene Rodriguez
                                                                  9:20 – 9:22
 Interpreter: n/a                                                 Probation Officer: n/a


                                               PROCEEDINGS

Sentencing Hearing held.
Counsel for Plaintiff and Defendant Present.
Defendant Present In-Custody


CASE CONTINUED TO: 07/30/2015 at 8:30 AM for Further Status/Trial Setting.




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EXCLUDABLE DELAY: Time Excluded for Effective Preparation of Counsel.
Begins: 07/21/2015
Ends: 07/30/2015

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                                                                                                     July 21, 2015



                                                                           Courtroom Deputy to the Honorable
                                                                                       Beth Labson Freeman
